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 2
 3                              UNITED STATES DISTRICT COURT
 4                                        DISTRICT OF NEVADA
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 6   JOSEPH DOWNING,                                        Case No.: 2:23-cv-00082-ART-NJK
 7                           Plaintiff,                                     Order
 8   v.                                                               (Docket Nos. 7, 8)
 9   DR. KHAN, et al.,
10                           Defendants.
11         On January 20, 2023, this Court issued an order granting Plaintiff until March 21, 2023, to
12 either pay the full $402 filing fee for a civil action or to submit a fully complete application to
13 proceed in forma pauperis with all three required documents. Docket No. 4. Plaintiff moves for
14 an extension of time to file a complete application to proceed in forma pauperis and to compel the
15 prison to send him his financial documents. Docket Nos. 7, 8.
16         The Court grants Plaintiff’s motion for an extension of time until May 12, 2023, to either
17 (1) pay the full $402 filing fee, or (2) file both a completed financial certificate and a copy of his
18 inmate trust fund account statement for the previous six-month period. However, the Court denies
19 Plaintiff’s motion to compel the prison to produce documents at this time.
20         Accordingly, for the reasons stated above,
21         IT IS ORDERED that Plaintiff’s motion for extension of time, Docket No. 7, is
22 GRANTED. Plaintiff has until May 12, 2023, to either pay the full $402 filing fee, or file a
23 completed financial certificate and a copy of his inmate trust fund account statement for the
24 previous six-month period.
25         IT IS FURTHER ORDERED that Plaintiff’s motion to compel, Docket No. 8, is DENIED.
26         Plaintiff is cautioned that this action will be subject to dismissal without prejudice if he
27 fails to timely comply with this order. A dismissal without prejudice allows Plaintiff to refile the
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 1 case with the Court, under a new case number, when Plaintiff can file a complete application to
 2 proceed in forma pauperis or pay the required filing fee.
 3         The Clerk of the Court is INSTRUCTED to send Plaintiff the approved form application
 4 to proceed in forma pauperis for an inmate and instructions for the same.
 5         IT IS SO ORDERED.
 6         DATED: March 30, 2023.
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 8                                              NANCY J. KOPPE
                                                UNITED STATES MAGISTRATE JUDGE
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